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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Andrew Hahn, et al.
                                             Plaintiff,
v.                                                          Case No.: 1:16−cv−06908
                                                            Honorable Jorge L. Alonso
Anselmo Lindberg Oliver, LLC., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 2, 2017:


        MINUTE entry before the Honorable Jorge L. Alonso: Status hearing held.
Plaintiffs' counsel advised the Court that they will not be filing an amended complaint.
Accordingly, this case is dismissed with prejudice. Civil case terminated. Notice mailed
by judge's staff (ntf, )




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